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                          IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

JOSHUA J. CRAVEN                    and    CRG
PROPERTIES, INC.,

         Plaintiffs,

v.                                                             Case No.:

CALEB J. WALSH                   and      PARKS
MANAGEMENT LLC,

         Defendants.
                                                /

                                            COMPLAINT

         Plaintiffs, Joshua J. Craven (“Craven”) and CRG Properties, Inc. (“CRG,” with Craven,

“Plaintiffs”), sue Defendants, Caleb J. Walsh (“Walsh”) and Parks Management LLC (“Parks

Management,” with Walsh, “Defendants”), and allege:

                                   JURISDICTION AND VENUE

         1.        This action involves, among other things, fraud, breach of fiduciary duty, theft,

conversion, unjust enrichment, and securities violations that Defendants perpetrated on Plaintiffs

to obtain Plaintiffs’ investments in excess of $565,000.00.

         2.        This Court has jurisdiction pursuant to 28 U.S.C. §1332(a) based on diversity of

citizenship.

         3.        This is an action for money damages in excess of seventy five thousand dollars

($75,000.00), exclusive of costs, interest, and attorneys’ fees.

         4.        Venue lies in the Middle District of Florida pursuant to 28 U.S.C. §1391(b).




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                                             THE PARTIES

         5.        Plaintiff Craven is an individual with his primary place of residence in California,

and is otherwise sui juris. Craven is a citizen of California for purposes of §1332(c).

         6.        Plaintiff CRG is a California corporation with its principal place of business located

at 5256 South Mission Road # 1006, Bonsall, California 92003. CRG is deemed a citizen of

California for purposes of §1332(c).

         7.        Defendant Walsh is an individual with his primary place of residence in

Hillsborough County, Florida, and is otherwise sui juris. Walsh is a citizen of Florida for purposes

of §1332(c).

         8.        Walsh holds himself out to the public as a leading authority on affordable housing,

property management, real estate investment and foreclosures:

                   Acclaimed as a leading authority on affordable housing, property
                   management, real estate investment and foreclosures, Caleb Walsh
                   has built up and controls a 10 state real estate portfolio from his
                   home in Tampa, Florida. For the past 10 years he developed one of
                   the most sought after property management formulas in the nation
                   which he used to train a team that manages his assets so he can focus
                   on acquiring multiple properties per month.

see https://www.calebwalsh.org/ (last accessed on December 22, 2020).

         9.        Walsh has a history of mismanaging investment properties either intentionally or

recklessly. Indeed, he has filed numerous bankruptcy cases relating to properties of which he was

either the manager or trustee. Most recently, Walsh filed bankruptcy cases in the United States

Bankruptcy Court for the Middle District of Florida for Gainesville Road Community Trust (Case

No. 8:20-bk-03888-CPM) and Plum Circle Community Trust (Case No. 8:20-bk-04249-CPM). In

each case, the Bankruptcy Court found that Walsh was “incompetent” and committed acts of

“fraud” and “dishonesty.” In the Plum Circle Community Trust case and the Gainesville Road



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Community Trust case, the Bankruptcy Court ultimately removed Walsh as the manager/trustee

of each entity and replaced him with a Chapter 11 trustee.

         10.       Defendant Parks Management is a Florida limited liability company with its

principal place of business located in Hillsborough County, Florida at 13194 US HWY 301 S #374,

Riverview, Florida 33578. Walsh utilized Parks Management to perpetrate his scheme and

improperly obtain Plaintiffs’ funds. The LLC members of Parks Management are not citizens of

California.

                                    GENERAL ALLEGATIONS

                                  The Gainesville Road Investment

         11.       In December, 2017, Craven received an email from Walsh (the “December 2017

Email”) about an opportunity to invest in two mobile home parks (the “Gainesville Road

Investment”). The December 2017 Email was a solicitation for an investment.

         12.       With the goal of extracting investment money from Plaintiffs, Walsh assured

Plaintiffs that he knew the “two mobile home parks…inside and out (as I was hired to advise on it

6 months ago) and ha[d] vetted the numbers 9 ways to Sunday.”

         13.       Walsh described the two mobile home parks as follows:

                   a. Our Lucaya (Sunny Oaks) Mobile Home Park, Real Property Tax ID No:
                      13206-002-00. 55 Spaces on 7.72 acres, 49 parked owned homes, 1
                      office/laundry, 3 storage mobile homes (“Sunny Oaks”); and

                   b. Edgewood Mobil Home Park, Real Property Tax ID No: 13923-000-00. 24
                      spaces on 2.64 acres, 22 parked owned homes, 2 single family houses
                      (“Edgewood,” with Sunny Oaks, the “Gainesville Road Properties”).

         14.       In connection with inducing Plaintiffs to invest, Walsh represented to Craven that

the Gainesville Road Investment included the purchase of the Gainesville Road Properties.

According to Walsh’s representations to Craven, the Gainesville Road Properties were to be



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purchased for a price of two million dollars ($2,000,000.00) with a $300,000.00 down payment

and the remainder to be financed.

         15.       In regards to the Gainesville Road Investment, Walsh promised Craven:

                   a. To have financing in place;

                   b. The equity in the Gainesville Road Properties was $3,120,000.00;

                   c. The Gainesville Road Investment would “more than double the existing
                      33k/month income by doing the renovations and rent the empty units/empty
                      sites;”
                   d. Refinancing would happen within 6-10 months of purchase;

                   e. Walsh would use one of his “private lenders to do a cash out refinance;” and

                   f. Craven would “get paid back at cashout [sic] of the property.”

         16.       In short, Walsh promised Craven that he would use the investment funds that he

sought from Plaintiffs for the down payment and necessary renovations to the Gainesville Road

Properties.

         17.       Walsh promised Craven that with said renovations the value of the Gainesville

Road Properties would quickly increase the value.

         18.       Specifically, Walsh assured Craven that, within a few months, he would refinance

the Gainesville Road Properties, cash-in on the equity, and repay Plaintiffs their down payment

plus profit. In the December 2017 Email sent to Craven, Walsh wrote:

                   If we are able to use you for the down payment for short term financing and
                   our capital to get the park at a point of refinance with my private lenders
                   than we can speed up the time line to a short 4-6 months easily based on the
                   fact that we wouldn’t be dependent on funds from the park itself.

         19.       In reliance on Walsh’s representations, on or about December 28, 2017, Craven

entered into The Land Trust Agreement for the Gainesville Road Community Trust (the “GRC

Trust”) (attached hereto as Exhibit A) for the purposes of acquiring and investing in the



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Gainesville Road Properties and thereafter, on or about December 28, 2017, invested $50,000.00

to be used as a down payment to acquire the Gainesville Road Properties.

         20.       Pursuant to the GRC Trust, Walsh appointed himself trustee, thereby creating a

fiduciary relationship between Walsh and the beneficiaries of the GRC Trust, including Craven.

         21.       Among other responsibilities, Walsh was entrusted with acquiring, renovating, and

capitalizing the Gainesville Road Properties to the point of refinance, cash out, and payback of the

initial investment.

         22.       As Trustee, Walsh was also required “to keep [] careful books showing the receipts

and disbursements he[] has made on behalf of the Trust and also of the Trust Property and to keep

books of the Trust open to the inspection of the beneficiaries.” Walsh grossly disregarded this

duty, as the record keeping was in disarray and Walsh was unable to accurately account to

Plaintiffs for the receipts and disbursements of the GRC Trust.

         23.       In addition to Plaintiffs’ initial $50,000.00 investment in the GRC Trust, on or

about January 18, 2018, Plaintiffs invested an additional $250,000.00 for a total of $300,000.00

(collectively, the “Gainesville Road Investment Funds”). Again, this investment was to be for the

down payment and rehabilitation of the Gainesville Road Properties. Plaintiffs were to be passive

investors and acquire a 8.3% beneficial interest in the Gainesville Road Properties through the

GRC Trust.1

         24.       Contrary to Walsh’s representations, upon information and belief, neither Walsh

nor any of his affiliated entities invested any capital into the GRC Trust with respect to the

Gainesville Road Properties.



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 Plaintiffs subsequently acquired the 16.6% interest of Kyle Ballif and 8.3% interest of Jason
Boley.

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         25.       Plaintiffs invested in the GRC Trust based on Walsh’s promises, representations,

purported experience, and expertise in buying and rehabilitating mobile home parks for investment

and profit, and Walsh’s alleged vetting of the Gainesville Road Properties.

         26.       Walsh made these representations to Plaintiffs although he knew they were false.

For example:

                   a. Walsh did not invest all of the money into the down payments for the
                      Gainesville Road Properties, instead Walsh kept some or all of the invested
                      funds for himself or affiliate entities.

                   b. Walsh knowingly overstated the value of the Gainesville Road Properties.

                   c. Walsh inflated the purchase prices of the Gainesville Road Properties.

                   d. Walsh did not invest his own funds to improve the Gainesville Road Properties
                      as promised.

                   e. Walsh misappropriated rents from the Gainesville Road Properties.

                   f. Walsh commingled monies from the Gainesville Road Properties with other
                      properties managed by Walsh.

                   g. Walsh did not bring the property to “maximum capacity” instead selling,
                      without requisite authority, assets of the GRC Trust, including the mobile
                      homes.

                   h. Walsh took a 10% management fee from the income while claiming that the
                      Gainesville Road Properties were otherwise operating at a loss.

                   i. Walsh intentionally allowed the Gainesville Road Properties to fall into
                      disrepair.

                   j. Walsh failed to execute his duties as trustee of the GRC Trust.

                   k. Walsh intentionally forced the properties into foreclosure and the GRC Trust
                      into bankruptcy.

                   l. Walsh entered into contracts for deed for the Gainesville Road Properties
                      without properly acquiring title by deed with a title policy.

         27.       Walsh knowingly and intentionally misrepresented the value of the Gainesville

Road Properties to induce Plaintiffs to make an investment of $300,000.00.


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         28.        Upon information and belief, Walsh misappropriated the Gainesville Road

Investment Funds for personal use, to pay off debts unrelated to the Gainesville Road Properties,

and intentionally did not rehabilitate (or at a minimum maintain) or manage the Gainesville Road

Properties. As a result, Plaintiffs have likely lost their entire $300,000.00 investment.

         29.       On May 19, 2020, Walsh caused the GRC Trust to file a voluntary petition under

chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the Middle District of Florida

(Tampa Division).

         30.       While Walsh signed the bankruptcy petition on behalf of the GRC Trust, Walsh did

not have the requisite authority to commence the bankruptcy filing.

         31.       After a three-day trial, on August 12, 2020, the Bankruptcy Court entered an order

directing the U.S. Trustee to appoint a chapter 11 trustee in the GRC Trust bankruptcy case,

thereby removing Walsh as the manager/trustee of the GRC Trust. In coming to that decision,

based on the evidence presented at the trial, the Bankruptcy Court found “that there are some

disturbing transactions, compelling to me, that lead to my finding that Mr. Walsh has been – you

can call it ‘incompetent,’ you can call it ‘fraud,’ you can call it ‘dishonesty.’”

         32.       The Bankruptcy Court also expressed grave concern over Walsh’s actions as

manager because of his cross-collateralization of properties and the fact that Walsh created

fraudulent transfers between the GRC Trust and the PCC Trust (defined below). The Bankruptcy

Court found numerous other bad acts and mismanagement committed by Walsh, including that

Walsh was “dealing out of trust,” Walsh had a board and failed to conduct board meetings, Walsh

failed to adhere to contractual requirements of the GRC Trust, Walsh failed to properly account

for funds received by the GRC Trust, and Walsh failed to adequately maintain books and records.




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Overall, the Bankruptcy Court found Walsh’s testimony regarding his management of the

Gainesville Road Properties to be not credible, evasive, non-responsive, and meandering.

         33.       The GRC Trust bankruptcy case brought to light Walsh’s mismanagement of the

Gainesville Road Properties and uncovered the fraudulent scheme that Walsh utilized to obtain the

Gainesville Road Investment funds from Plaintiffs.

                                      The Plum Circle Investment

         34.       On February 14, 2018, Walsh sent Craven another email (the “February 14 Email”)

about an opportunity to invest in another mobile home park located in Chipley, Florida (the

“Chipley Property”). A true and correct copy of the February 14 Email is attached hereto as

Exhibit B. The February 14 Email was a solicitation for an investment.

         35.       In the February 14 Email, Walsh wrote:

                   Hi Josh,

                   The more I dug into numbers on South Dakota the more i (sic) am
                   convinced it is too tight and want to hold off until further
                   investigation.

                   That being said, the same seller who sold us Ocala property is
                   offering a steal on the following park in Chipley, Florida since he
                   had such a good experience with the last closing. I advised on
                   contract on this property since it was empty within the past six
                   months and due to my advising they filled it to 11 tenants so
                   far….This is under contract and closing Feb 28th and we would need
                   to fund (open escrow) this Friday Feb 16th 2018.

                   Interested? I can have this doing $18,500 in 45-60 days at tops. The
                   rents are so far below market value and I know for a fact the demand
                   is tremendous in this area. I will be closing either way if you pass
                   on this one but I thought this would be a great one to pivot since the
                   South Dakota still needs more investigation for that high of a
                   purchase price and down payment.

                   Bottom line, I’ll do 50/59 (sic) after my management entity gets
                   10% if you put up the $265k downpay (sic) needed. I’ll put up all



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                   renovation money + cost of new homes. Thoughts? See details
                   below …this one will have a BIG payday in 11 months.

                   Park Specifics:

                   30 SPACES (ALL SEPARATELY METERED FOR COUNTY
                   WATER, SEWER, GARBAGE, AND ELECTRIC). 26 HOMES IN
                   THE PARK NOW (ALL PARK OWNED) HOMES ARE
                   MOSTLY 3 BED/ 2 BATH WITH A FEW 2 BED/1 BATH AND
                   SOME 4 BED/2 BATH. HOMES ARE 1978 THROUGH 1993.

                   Deal Terms:

                        1) Downpayment (sic): $265,000

                        2) Purchase Price: $805,000

                        3) Value: $1,200,000 ($395,000 Equity Day 1)

                   Mortgage Specifics:

                   PURCHASE MONEY NOTE (1st Mortgage) : Seller agrees to take
                   back a Purchase Money Note for the amount of $540,000.000 at an
                   interest rate of 7.5% per annum amortized over 25 years. Monthly
                   Payment payable by Purchaser is $3,990.55 per month for a period
                   of 12 months with payments (sic)

                   beginning (sic) May 1st, 2018 and continuing on the same day of
                   each month thereafter for the period of 11 months. The unpaid
                   balance of $536,344.67 becoming due and payable on April 1, 2019
                   as one final balloon payment.

                   Strategy:

                   Bring property to $18,500/month through conversion to tenant
                   owned properties within 45 days. Grow the equity to $695,000 for
                   a high case out refinance in 11 months.

                   Seller finance, doesn’t pay on the mortgage and forces the seller to
                   foreclose on the property and forced the trust into bankruptcy

(the “Plum Circle Investment”).




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         36.       According to Walsh, the Plum Circle Investment included the purchase of the

Chipley Property for $805,000.00 with a down payment of $265,000.00 and seller financing of

$540,000.00 with a 7.5% interest rate per annum amortized over 25 years.

         37.       On or about February 20, 2018, Craven, through CRG, entered into the Land Trust

Agreement for the Plum Circle Community Trust (the “PCC Trust”) (attached hereto as Exhibit

C) for the purpose of acquiring and rehabilitating the Chipley Property.

         38.       On or about February 20, 2018, Plaintiffs invested $265,000.00 (the “Plum Circle

Investment Funds”) to be used solely as a down payment towards the purchase price of the Chipley

Property. Plaintiffs were to be passive investors and acquire a 50% beneficial interest in the

Chipley Property through the PCC Trust.

         39.       Walsh designated himself as the Trustee of the PCC Trust, thereby creating a

special relationship between himself and Plaintiffs. Walsh was entrusted with, among other

responsibilities, acquiring, renovating and capitalizing the Chipley Property to the point of

refinance, cash out and payback of the initial investment plus profit. The PCC Trust documents,

prepared by Walsh, specifically reference that the Plum Circle Investment Funds was solely for

the acquisition of the Chipley Property.

         40.       Upon information and belief, neither Walsh nor any of his affiliated entities

invested any capital into the PCC Trust with respect to the Chipley Property.

         41.       As Trustee, Walsh was also required “to keep [] careful books showing the receipts

and disbursements he[] has made on behalf of the Trust and also of the Trust Property and to keep

books of the Trust open to the inspection of the beneficiaries.” Walsh failed in this duty, as the

record keeping was in disarray and Walsh was unable to accurately account to Plaintiffs for the

receipts and disbursements of the PCC Trust.



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         42.       Meanwhile, despite Walsh’s representations to Plaintiffs, Walsh convinced the

seller of the Chipley Property to finance the mortgage for the remainder of the purchase price.

         43.       Plaintiff’s investment in the PCC Trust was based on Walsh’s knowingly false

representations, purported experience and expertise in buying and rehabilitating mobile home

parks for investment and profit, and his alleged vetting of the Chipley property.

         44.       Walsh’s representations were knowingly false. For example:

                   a. Walsh did not invest all of the money into the down payments for the Chipley
                      property, instead he misappropriated some or all of the invested funds for
                      personal use or use on his affiliate entities.

                   b. Walsh knowingly overstated the value of the Chipley property.

                   c. Walsh inflated the purchase price of the Chipley property.

                   d. Walsh did not invest his own funds to improve the Chipley property as
                      promised.

                   e. Walsh misappropriated rents from the Chipley property.

                   f. Walsh did not bring the Chipley property to “maximum capacity”. Instead,
                      without the requisite authority, Walsh sold the assets of the PCC Trust,
                      including the mobile homes.

                   g. Walsh took a 10% management fee from the income of the Chipley property
                      while claiming that the property was otherwise operating at a loss.

                   h. Walsh, through misuse or misappropriation of investment funds, intentionally
                      allowed the Chipley property to fall into disrepair.

                   i. Walsh failed to execute his duties as trustee of the PCC Trust.

                   j. Walsh intentionally forced the Chipley property into foreclosure and the PCC
                      Trust into bankruptcy without the requisite consent or approval of the PCC
                      Trust beneficiaries.

                   k. Walsh entered into contracts for deed for the Chipley property that the PCC
                      Trust without properly acquiring title by deed with a title policy.

         45.       Walsh knowingly and intentionally misrepresented the value of the Chipley

Property to induce Plaintiffs to make an investment of $265,000.00.


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         46.       Upon information and belief, Walsh misappropriated the Plum Circle Investment

Funds for personal use, to pay off debts unrelated to the Chipley Property, and intentionally

neglected to rehabilitate (or at a minimum maintain) and manage the Chipley Property. As a result,

Plaintiffs have likely lost their entire $265,000.00 investment.

         47.       Moreover, Walsh misrepresented the purchase price of the Chipley Property to

Plaintiffs. Pursuant to the February 14 Email, Walsh represented to Plaintiffs that the purchase

price for the Chipley Property was $805,000.00—this was false. At the time Walsh made this

representation, Walsh knew the representation was false, as the purchase price for the Chipley

Property was never $805,000.00. A true and correct copy of the closing statement for the Chipley

Property is attached hereto as Exhibit D. Walsh never provided Plaintiffs with a copy of the

closing statement.

         48.       Walsh has testified under oath that at the time he sent the February 14 Email to

Craven that the purchase price was not $805,000.00, it was actually $700,000.00. As reflected in

the closing statement, Walsh or his affiliated entities pocketed approximately $100,000.00 from

the closing of the Chipley Property—this was never disclosed to Plaintiffs.

         49.       On May 31, 2020, Walsh caused the PCC Trust to file a voluntary petition under

chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the Middle District of Florida

(Tampa Division).

         50.       While Walsh signed the bankruptcy petition on behalf of the PCC Trust, Walsh did

not have the requisite authority to commence the bankruptcy filing.

         51.       After a three-day trial, on August 12, 2020, the Bankruptcy Court entered an order

directing the U.S. Trustee to appoint a chapter 11 trustee in the PCC Trust bankruptcy case, thereby

removing Walsh as the manager/trustee of the PCC Trust. The Bankruptcy Court’s findings, i.e.,



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“that Mr. Walsh has been – you can call it ‘incompetent,’ you can call it ‘fraud,’ you can call it

‘dishonesty,’” applied equally to the PCC Trust bankruptcy case and the PCC Trust bankruptcy

case.

         52.       Further, when the Bankruptcy Court appointed a chapter 11 trustee with respect to

the Chipley Property, the Bankruptcy Court noted numerous misrepresentations by Walsh and

specifically made the following finding: “Mr. Craven is another example of a misrepresentation.

You told Mr. Craven that the purchase price was $800,000 for [the Chipley Property] and it wasn’t

and you knew it wasn’t.” The Bankruptcy Court further found that Walsh never advised Plaintiffs

that the purchase price for the Chipley Property was actually $700,000.00 before Plaintiffs parted

with their money and made the investment.

         53.       In participating in the Plum Circle Investment and delivering the Plum Circle

Investment Funds to Walsh and Parks Management, Plaintiffs relied on Walsh’s representations

regarding the use of the funds and the purchase price of the Chipley Property. Had Walsh disclosed

to Plaintiffs the true purchase price of the Chipley Property and that Walsh and his affiliates would

improperly retain approximately $100,000.00 from the closing, then Plaintiffs would have never

made the investment and parted with the Plum Circle Investment Funds.

         54.       The PCC Trust bankruptcy case brought to light Walsh’s mismanagement of the

Chipley Property and uncovered the fraudulent scheme that Walsh utilized to obtain the Plum

Circle Investment funds from Plaintiffs.

                                      Civil Theft Demand Letter

         55.       On June 12, 2020, Plaintiffs sent a demand letter to Walsh pursuant to Fla. Stat. §

772.11 (the “Demand Letter”). In the Demand Letter, Plaintiffs sought the return of the Gainesville

Road Investment Funds and Plum Circle Investment Funds.



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         56.       Plaintiffs advised Walsh that (i) the Gainesville Road Investment Funds and Plum

Circle Investment Funds were not used for the purpose in which the funds were provided to Walsh;

(ii) Walsh intentionally obtained the Gainesville Road Investment Funds and Plum Circle

Investment Funds by false pretenses, fraud, deception, willful misrepresentations, or false

promises; (iii) Walsh knowingly converted the Gainesville Road Investment Funds and Plum

Circle Investment Funds to his own personal use; and (iv) Walsh deprived Plaintiffs of the

Gainesville Road Investment Funds and Plum Circle Investment Funds and any correlating

benefit.2

         57.       Walsh never returned the Gainesville Road Investment Funds or Plum Circle

Investment Funds to Plaintiffs and has never accounted to Plaintiffs for such funds. In fact, as of

the filing of this Complaint, Walsh has never even responded to the Demand Letter.

         58.       Walsh has repeatedly referred to Craven as his “partner” with respect to the

Gainesville Road Properties and the Chipley Property; however, Walsh certainly has not treated

Craven as a “partner.” Walsh took advantage of Craven by fraudulently inducing Plaintiffs to

invest the Gainesville Road Investment Funds and Plum Circle Investment Funds with the false

promise of the return of the investments, plus profit and interest, and then failing to account to

Plaintiffs for his actions.

         59.       Plaintiffs have retained the law firm of Lewis Brisbois Bisgaard & Smith LLP to

provide legal services to represent their interests in this action and have agreed to pay the firm a

reasonable fee for services rendered.




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 Plaintiffs also noted in the Demand Letter that they were entitled to rescission of their investments
under Florida and Federal securities laws.

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          60.      All conditions precedent to this action have been performed, occurred, satisfied,

waived, or excused, or the performance of conditions precedent would be futile.

                                          COUNT I – FRAUD
                                (as to the Gainesville Road Investment)

          61.      Plaintiffs re-allege and incorporate paragraphs 1 through 60 as if fully set forth

herein.

          62.      This is an action against Defendants for fraud.

          63.      As alleged herein, Walsh made statements to Plaintiffs concerning the material

facts of, inter alia, how the Gainesville Road Investment Funds would be invested, the

circumstances regarding the Gainesville Road Properties, how the Gainesville Road Investment

Funds would be repaid, actions Plaintiffs would take with respect to rehabilitating the Gainesville

Road Properties and investing their own funds, and his purported knowledge, experience, and

expertise in buying and rehabilitating mobile home parks for investment and profit.

          64.      Walsh made these statements to Plaintiffs although he knew these representations

to be false.

          65.      In an effort to perpetrate his scheme and obtain and steal Plaintiffs’ Gainesville

Road Investment Funds, Walsh convinced Craven to enter into a Land Trust Agreement with

respect to the GRC Trust that would allegedly benefit Plaintiffs.

          66.      Walsh then convinced Plaintiffs to entrust him as the sole trustee of the GRC Trust.

Walsh knew that as the sole trustee he would have the opportunity to conceal his misuse of the

Gainesville Road Investment Funds. As Trustee, Walsh, individually and through Parks

Management, was able to ultimately utilize the Gainesville Road Investment Funds for his personal

use and/or for the benefit of other affiliate entities and not for the purpose in which Plaintiffs

provided the funds to Defendants.

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          67.      In making the knowingly false representations, Walsh intended to, and did, induce

Plaintiffs to deliver the Gainesville Road Investment Funds to Defendants and execute the GRC

Trust documents.

          68.      Plaintiffs acted in reliance on Walsh’s false representations and invested the

Gainesville Road Investment Funds under the belief that said funds would be invested as Walsh

promised and to which Plaintiffs agreed and Defendants would take such other actions as they

represented that they would.

          69.      As a result of Plaintiffs’ reliance upon Walsh’s false representations, they suffered

significant monetary damages, including the loss of $300,000.00 (the Gainesville Road Investment

Funds), the lost equity in the Gainesville Road Properties of $1,120,00.00, income, and interest.

                                          COUNT II – FRAUD
                                  (as to the Plum Circle Investment)

          70.      Plaintiffs re-allege and incorporate paragraphs 1 through 60 as if fully set forth

herein.

          71.      This is an action against Defendants for fraud.

          72.      As alleged herein, Walsh made statements to Plaintiffs concerning the material

facts of, inter alia, how the Plum Circle Investment Funds would be invested, the circumstances

regarding the Chipley Property, how the Plum Circle Investment Funds would be repaid, actions

Plaintiffs would take with respect to rehabilitating the Chipley Property and investing their own

funds, and his purported knowledge, experience, and expertise in buying and rehabilitating mobile

home parks for investment and profit.

          73.      Walsh made these statements to Plaintiffs although he knew these representations

to be false.




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          74.      In an effort to perpetrate his scheme and obtain and steal Plaintiffs’ Plum Circle

Investment Funds, Walsh convinced Plaintiffs to enter into a Land Trust Agreement with respect

to the PCC Trust that would allegedly benefit Plaintiffs.

          75.      Walsh then convinced Plaintiffs to entrust him as the sole trustee of the PCC Trust.

Walsh knew that as the sole trustee he would have the opportunity to conceal his misuse of the

Plum Circle Investment Funds. As Trustee, Walsh, individually and through Parks Management,

was able to ultimately utilize the Plum Circle Investment Funds for his personal use and/or for the

benefit of other affiliate entities and not for the purpose in which Plaintiffs provided the funds to

Defendants.

          76.      In making the knowingly false representations, Walsh intended to, and did, induce

Plaintiffs to deliver the Plum Circle Investment Funds to Defendants and execute the PCC Trust

documents.

          77.      Plaintiffs acted in reliance on Walsh’s false representations and invested the Plum

Circle Investment Funds under the belief that said funds would be invested as Walsh promised and

to which Plaintiffs agreed, and Defendants would take such other actions as they represented that

they would.

          78.      As a result of Plaintiffs’ reliance upon Walsh’s false representations, they suffered

significant monetary damages, including the loss of $265,000.00 (the Plum Circle Investment

Funds), the lost equity in the Chipley Property of $395,000.00, income, and interest.

                   COUNT III – VIOLATION OF FLORIDA BLUE SKY LAWS
                            (as to the Gainesville Road Investment)

          79.      Plaintiffs re-allege and incorporate paragraphs 1 through 60 as if fully set forth

herein.




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         80.       This is an action against Defendants for violations of the Florida Securities and

Investor Protection Act (“FISPA”), Fla. Stat. §§ 517.011, et seq.

         81.       Pursuant to Fla. Stat. § 517.301(1)(a), it is unlawful and a violation of FSIPA for a

person, in connection with the rendering of any investment advice or in connection with the offer,

sale, or purchase of any investment or security, including any security exempted under the

provisions of § 517.051 and including any security sold in a transaction exempted under the

provisions of § 517.061, directly or indirectly:

         (a) to employ any device, scheme, or artifice to defraud;

         (b) to obtain money or property by means of any untrue statement of a material fact or
             any omission to state a material fact necessary in order to make the statements made,
             in the light of the circumstances under which they were made, not misleading; or

         (c) to engage in any transaction, practice, or course of business which operates or would
             operate as a fraud or deceit upon a person.

         82.       It is also unlawful to knowingly and willfully falsify, conceal, or cover up, by any

trick, scheme, or device, a material fact, make any false, fictitious, or fraudulent statement or

representation, or make or use any false writing or document, knowing the same to contain any

false, fictitious, or fraudulent statement or entry. Fla. Stat. § 517.301(1)(c).

         83.       Pursuant to Fla. Stat. § 517.211(2), any person purchasing or selling a security in

violation of § 517.301, and every director, officer, partner, or agent of or for the purchaser or seller,

if the director, officer, partner, or agent has personally participated or aided in making the sale or

purchase, is jointly and severally liable to the person selling the security to or purchasing the

security from such person in an action for rescission, if the plaintiff still owns the security, or for

damages, if the plaintiff has sold the security.

         84.       A purchaser may recover the consideration paid for the security or investment, plus

interest thereon at the legal rate, less the amount of income received by the purchaser on the

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security or investment, in addition to an award of prevailing party attorneys’ fees. See Fla. Stat. §

517.211(3).

         85.       Defendants employed a scheme to defraud Plaintiffs into making an investment in

the GRC Trust and the Gainesville Road Properties—the Gainesville Road Investment.

         86.       The acceptance of Plaintiffs’ investment, i.e., the Gainesville Road Investment

Funds, in exchange for a beneficial interest in title to notes, evidence of indebtedness, property,

profits, or earnings is a “Security” as defined within the meaning and intent of Fla. Stat. §

517.021(21).

         87.       Pursuant to the terms offered by Walsh, individually and on behalf of his affiliate

entities, Plaintiffs would “invest” funds with Walsh, for which Plaintiffs would receive a beneficial

interest in real property plus a return on their investment from the income the property produced.

         88.       Walsh, individually and through Parks Management, purported to engage in the

essential managerial effort and activities which would drive the success of the investment.

Plaintiffs were only to provide the Gainesville Road Investment Funds and share in the earnings

and profits generated by the income producing properties that were to be invested in by Walsh,

leaving the management, control, and operation to Defendants.

         89.       Walsh, in violation of §§ 517.211 and 517.301, knowingly and willfully, during the

sale of a security, obtained the Gainesville Road Investment Funds by means of untrue statements

of a material fact. In addition, Walsh omitted material facts that were necessary under the

circumstances to render said statements not misleading.

         90.       Defendants engaged in transactions, practices, and a course of business that

operated as a fraud on Plaintiffs.




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         91.       Defendants acted with scienter, knew that their representations were false, and

intended that Plaintiffs rely upon the representations and omissions to induce them to invest their

money with Defendants.

         92.       As alleged herein, inter alia, Walsh: i) represented that he would invest the

Gainesville Road Investment Funds in income producing real estate for the benefit of Plaintiffs,

although he knew said representations to be false; ii) failed to advise Plaintiffs of the risks inherent

in investing with him, including, but not limited to, the potential decline in the value of any real

property purchased or fluctuations in income and expenses of the properties; iii) failed to advise

Plaintiffs that the Gainesville Road Investment would not be liquid and that Plaintiffs could not

obtain a return of principal upon demand; iv) failed to properly advise Plaintiffs of the growing

risks of continued investment with Walsh and his affiliate entities, including Walsh’s prior history

with respect to investing in mobile home parks; v) failed to advise Plaintiffs of the true condition

and value of the Gainesville Road Properties; and vi) failed to advise Plaintiffs that Defendants

had no intention of putting their own funds into the Gainesville Road Investment.

         93.       Plaintiffs relied upon Walsh’s representations and omissions in making their

investment in the Gainesville Road Investment, and have been damaged.

         94.       In violation of Fla. Stat. § 517.07, Walsh offered to sell the subject security within

Florida, which security was not registered pursuant to the provisions of § 517.011, et seq.

         95.       Plaintiffs, in accordance with Fla. Stat. § 517.211(3), are entitled to recover the

consideration paid for the security, i.e., the Gainesville Road Investment Funds ($300,000.00),

plus interest from the date of the investment, less any income received by Plaintiffs.




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          96.      Additionally, based upon Defendants’ fraudulent conduct and concealment of facts

in connection with the sale of the security, Plaintiffs are entitled to recover from Defendants

payment of their attorneys’ fees and costs in accordance with Fla. Stat. § 517.211(6).

          97.      Plaintiffs tender their investments in the GRC Trust and the Gainesville Road

Properties—the Gainesville Road Investment

                   COUNT IV – VIOLATION OF FLORIDA BLUE SKY LAWS
                              (as to the Plum Circle Investment)

          98.      Plaintiffs re-allege and incorporate paragraphs 1 through 60 as if fully set forth

herein.

          99.      This is an action against Defendants for violations of the Florida Securities and

Investor Protection Act (“FISPA”), Fla. Stat. §§ 517.011, et seq.

          100.     Pursuant to Fla. Stat. § 517.301(1)(a), it is unlawful and a violation of FSIPA for a

person, in connection with the rendering of any investment advice or in connection with the offer,

sale, or purchase of any investment or security, including any security exempted under the

provisions of § 517.051 and including any security sold in a transaction exempted under the

provisions of § 517.061, directly or indirectly:

          (a) to employ any device, scheme, or artifice to defraud;

          (b) to obtain money or property by means of any untrue statement of a material fact or any
              omission to state a material fact necessary in order to make the statements made, in the
              light of the circumstances under which they were made, not misleading; or

          (c) to engage in any transaction, practice, or course of business which operates or would
              operate as a fraud or deceit upon a person.

          101.     It is also unlawful to knowingly and willfully falsify, conceal, or cover up, by any

trick, scheme, or device, a material fact, make any false, fictitious, or fraudulent statement or




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representation, or make or use any false writing or document, knowing the same to contain any

false, fictitious, or fraudulent statement or entry. Fla. Stat. § 517.301(1)(c).

         102.      Pursuant to Fla. Stat. § 517.211(2), any person purchasing or selling a security in

violation of § 517.301, and every director, officer, partner, or agent of or for the purchaser or seller,

if the director, officer, partner, or agent has personally participated or aided in making the sale or

purchase, is jointly and severally liable to the person selling the security to or purchasing the

security from such person in an action for rescission, if the plaintiff still owns the security, or for

damages, if the plaintiff has sold the security.

         103.      A purchaser may recover the consideration paid for the security or investment, plus

interest thereon at the legal rate, less the amount of income received by the purchaser on the

security or investment, in addition to an award of prevailing party attorneys’ fees. See Fla. Stat. §

517.211(3).

         104.      Defendants employed a scheme to defraud Plaintiffs into making an investment in

the PCC Trust and the Chipley Property—the Plum Circle Investment.

         105.      The acceptance of Plaintiffs’ investment, i.e., the Plum Circle Investment Funds, in

exchange for a beneficial interest in title to notes, evidence of indebtedness, property, profits, or

earnings is a “Security” as defined within the meaning and intent of Fla. Stat. § 517.021(21).

         106.      Pursuant to the terms offered by Walsh, individually and on behalf of his affiliate

entities, Plaintiffs would “invest” funds with Walsh, for which Plaintiffs would receive a beneficial

interest in real property plus a return on their investment from the income the property produced.

         107.      Walsh, individually and through Parks Management, purported to engage in the

essential managerial effort and activities which would drive the success of the investment.

Plaintiffs were only to provide the Plum Circle Investment Funds and share in the earnings and



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profits generated by the income producing properties that were to be invested in by Walsh, leaving

the management, control, and operation to Defendants.

         108.      Walsh, in violation of §§ 517.211 and 517.301, knowingly and willfully, during the

sale of a security, obtained the Plum Circle Investment Funds by means of untrue statements of a

material fact. In addition, Walsh omitted material facts that were necessary under the

circumstances to render said statements not misleading.

         109.      Defendants engaged in transactions, practices, and a course of business that

operated as a fraud on Plaintiffs.

         110.      Defendants acted with scienter, knew that their representations were false, and

intended that Plaintiffs rely upon the representations and omissions to induce them to invest their

money with Defendants.

         111.      As alleged herein, inter alia, Walsh i) represented that he would invest the Plum

Circle Investment Funds in income producing real estate for the benefit of Plaintiffs, although he

knew said representations to be false; ii) failed to advise Plaintiffs of the risks inherent in investing

with him, including, but not limited to, the potential decline in the value of any real property

purchased or fluctuations in income and expenses of the properties; iii) failed to advise Plaintiffs

that the Plum Circle Investment would not be liquid and that Plaintiffs could not obtain a return of

principal upon demand; iv) failed to properly advise Plaintiffs of the growing risks of continued

investment with Walsh and his affiliate entities, including Walsh’s prior history with respect to

investing in mobile home parks; v) failed to advise Plaintiffs of the true condition and value of the

Chipley Property; and vi) failed to advise Plaintiffs that Defendants had no intention of putting

their own funds into the Plum Circle Investment.




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          112.     Plaintiffs relied upon Walsh’s representations and omissions in making their

investment in the Plum Circle Investment, and have been damaged.

          113.     In violation of Fla. Stat. § 517.07, Walsh offered to sell the subject security within

Florida, which security was not registered pursuant to the provisions of § 517.011, et seq.

          114.     Plaintiffs, in accordance with Fla. Stat. § 517.211(3), are entitled to recover the

consideration paid for the security, i.e., the Plum Circle Investment Funds ($265,000.00), plus

interest from the date of the investment, less any income received by Plaintiffs.

          115.     Additionally, based upon Defendants’ fraudulent conduct and concealment of facts

in connection with the sale of the security, Plaintiffs are entitled to recover from Defendants

payment of their attorneys’ fees and costs in accordance with Fla. Stat. § 517.211(6).

          116.     Plaintiffs tender their investments in the PCC Trust and the Chipley Property—the

Plum Circle Investment.

                           COUNT V – BREACH OF FIDUCIARY DUTY
                                     (as to the GRC Trust)

          117.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          118.     This is a cause of action against Walsh for breach of fiduciary duty.

          119.     Walsh managed and/or controlled the GRC Trust at all times relevant to this action

and was the Trustee pursuant to the GRC Trust documents.

          120.     Walsh knew or had reason to know Plaintiffs placed their trust and confidence in

him and relied on his representations and obligations to ensure proper protocol, procedures, and

due care were followed in all transactions and actions of the GRC Trust.

          121.     Walsh established a fiduciary duty with Plaintiffs, whether express or implied in

law, based upon the special relationship and the specific factual circumstances described herein.

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          122.     Plaintiffs were justified in placing their trust and confidence in Walsh.

          123.     Walsh owed duties to Plaintiffs of loyalty, prudent administration and control of

the trust property, refraining from gross negligence or reckless conduct, self-dealing, and willful

or intentional misconduct.

          124.     Walsh was further required to discharge his duties consistently with the obligations

of good faith and fair dealing.

          125.     Walsh breached his fiduciary obligations to Plaintiffs, as described herein.

          126.     Walsh’s misconduct caused significant damage to Plaintiffs.

          127.     Walsh’s breaches amount to willful and intentional misconduct or, at the very least,

gross negligence and reckless misconduct.

          128.     Further, Walsh’s misconduct caused the Gainesville Road Properties to fall into

disrepair, lose income, have foreclosure proceedings commenced against them, and ultimately be

forced into bankruptcy proceedings.

          129.     Plaintiffs have been damaged as a direct and proximate result of Walsh’s breaches

of fiduciary duty.

                              COUNT VI – CONSTRUCTIVE FRAUD
                               (as to the Gainesville Road Investment)

          130.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          131.     This is a cause of action against Defendants for constructive fraud relating to the

Gainesville Road Investment.

          132.     A duty to Plaintiffs under a confidential or fiduciary relationship has been abused.

          133.     An unconscionable or improper advantage has been taken of Plaintiffs.




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          134.     As specifically described herein, a fraudulent scheme was perpetrated upon

Plaintiffs, based upon knowingly false statements concerning material facts and concealment.

          135.     Plaintiffs relied upon the knowingly false statements concerning material facts and

concealment, were induced to provide their investments, and have been damaged.

          136.     The fraudulent scheme perpetrated upon Plaintiffs was wrongful, and equitable

interference is justified under these circumstances.

                          COUNT VII – BREACH OF FIDUCIARY DUTY
                                     (as to the PCC Trust)

          137.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          138.     This is a cause of action against Walsh for breach of fiduciary duty.

          139.     Walsh managed and/or controlled the PCC Trust at all times relevant to this action

and was the Trustee pursuant to the PCC Trust documents.

          140.     Walsh knew or had reason to know Plaintiffs placed their trust and confidence in

him and relied on his representations and obligations to ensure proper protocol, procedures, and

due care were followed in all transactions and actions of the PCC Trust.

          141.     Walsh established a fiduciary duty with Plaintiffs, whether express or implied in

law, based upon the special relationship and the specific factual circumstances described herein.

          142.     Plaintiffs were justified in placing their trust and confidence in Walsh.

          143.     Walsh owed duties to Plaintiffs of loyalty, prudent administration and control of

the trust property, refraining from gross negligence or reckless conduct, self-dealing, and willful

or intentional misconduct.

          144.     Walsh was further required to discharge his duties consistently with the obligations

of good faith and fair dealing.

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          145.     Walsh breached his fiduciary obligations to Plaintiffs, as described herein.

          146.     Walsh’s misconduct caused significant damage to Plaintiffs.

          147.     Walsh’s breaches amount to willful and intentional misconduct or, at the very least,

gross negligence and reckless misconduct.

          148.     Further, Walsh’s misconduct caused the Chipley Property to fall into disrepair, lose

income, have foreclosure proceedings commenced against it, and ultimately be forced into

bankruptcy proceedings.

          149.     Plaintiffs have been damaged as a direct and proximate result of Walsh’s breaches

of fiduciary duty.

                                  VIII – CONSTRUCTIVE FRAUD
                                  (as to the Plum Circle Investment)

          150.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          151.     This is a cause of action against Defendants for constructive fraud relating to the

Gainesville Road Investment.

          152.     A duty to Plaintiffs under a confidential or fiduciary relationship has been abused.

          153.     An unconscionable or improper advantage has been taken of Plaintiffs.

          154.     As specifically described herein, a fraudulent scheme was perpetrated upon

Plaintiffs, based upon knowingly false statements concerning material facts and concealment.

          155.     Plaintiffs relied upon the knowingly false statements concerning material facts and

concealment, were induced to provide their investments, and have been damaged.

          156.     The fraudulent scheme perpetrated upon Plaintiffs was wrongful, and equitable

interference is justified under these circumstances.




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                               COUNT IX – UNJUST ENRICHMENT
                               (as to the Gainesville Road Investment)

          157.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          158.     This is a cause of action against Defendants for unjust enrichment.

          159.     By delivering the Gainesville Road Investment Funds to Defendants, Plaintiffs

conferred a benefit on Defendants, each of whom has knowledge of the benefit conferred.

          160.     Defendants voluntarily accepted and retained the benefits conferred by Plaintiffs.

          161.     Because Plaintiffs provided substantial benefits to Defendants and Defendants

provided no corresponding benefit to Plaintiffs because, inter alia, Defendants did not invest all

of the Gainesville Road Investment Funds into the down payment or rehabilitation of the

Gainesville Road Properties as required and instead kept some or all of the funds for Defendants

or their affiliates; Defendants failed to improve the Gainesville Road Properties , instead allowing

the properties to fall into disrepair; Defendants mismanaged the Gainesville Road Properties and

misappropriated rents; Defendants improperly took a 10% management fee from the income of the

property while claiming that the Gainesville Road Properties were otherwise operating at a loss;

and Defendants allowed the Gainesville Road Properties to go into foreclosure and Defendants

ultimately forced the GRC Trust into bankruptcy, the circumstances render the Defendants’

retention of the benefits conferred inequitable unless Defendants return the monies to Plaintiffs.

                               COUNT X – UNJUST ENRICHMENT
                                (as to the Plum Circle Investment)

          162.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          163.     This is a cause of action against Defendants for unjust enrichment.



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          164.     By delivering the Plum Circle Investment Funds to Defendants, Plaintiffs conferred

a benefit on Defendants, each of whom has knowledge of the benefit conferred.

          165.     Defendants voluntarily accepted and retained the benefits conferred by Plaintiffs.

          166.     Because Plaintiffs provided substantial benefits to Defendants and Defendants

provided no corresponding benefit to Plaintiffs because, inter alia, Defendants did not invest all

of the Plum Circle Investment Funds into the down payment for the Chipley Property as required

and instead kept some or all of the funds for Defendants or their affiliates; Defendants failed to

improve the Chipley Property, instead allowing the property to fall into disrepair; Defendants

mismanaged the Chipley Property and misappropriated rents; Defendants improperly took a 10%

management fee from the income of the property while claiming that the Chipley Property was

otherwise operating at a loss; and Defendants allowed the Chipley Property to go into foreclosure

and Defendants ultimately forced the PCC Trust into bankruptcy, the circumstances render the

Defendants’ retention of the benefits conferred inequitable unless Defendants return the monies to

Plaintiffs.

                                    COUNT XI – CONVERSION
                               (as to the Gainesville Road Investment)

          167.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          168.     This is a cause of action against Defendants for conversion.

          169.     Defendants improper taking and retention of the Gainesville Road Investment

Funds which belong to Plaintiffs gives rise to a claim for conversion. Defendants, without

authorization, asserted dominion and control over the Gainesville Road Investment Funds.

          170.     The Gainesville Road Investment Funds are specifically identifiable property of

Plaintiffs and are or were the property of Plaintiffs and which were owned or payable to Plaintiffs.

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          171.     Defendants’ conversion is inconsistent with Plaintiffs’ rights and ownership of the

Gainesville Road Investment Funds.

          172.     Walsh solicited and advised Plaintiffs to invest in the Gainesville Road Investment.

Upon trust and advice and based upon Walsh’s solicitation and misrepresentations, Plaintiffs

invested $300,000.00 (the Gainesville Road Investment Funds) into the GRC Trust for purposes

of providing a down payment towards acquiring the Gainesville Road Properties. In return, Walsh

promised income generation, profits, and refinancing that would result in a repayment of the initial

investment after the properties were rehabilitated and exercising maximum use.

          173.     Instead of using the Gainesville Road Investment Funds as solicited, promised,

advised, and agreed upon, Walsh converted the Gainesville Road Investment Funds for his own

benefit and use or that of his affiliated entities.

          174.     The Gainesville Road Investment Funds were wrongfully and illegitimately used

for the benefit of Defendants.

          175.     Plaintiffs made a demand for the return of the Gainesville Road Investment Funds,

but the funds have not been returned. Defendants have been confronted with the fact that they stole

and converted Plaintiffs’ property, but Defendants have failed to return any of the property to

Plaintiffs and have ignored Plaintiffs’ demands.

          176.     As a direct and proximate result of Defendants’ conversion of the Gainesville Road

Investment Funds, Plaintiffs have been damaged.

                                    COUNT XII – CONVERSION
                                  (as to the Plum Circle Investment)

          177.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          178.     This is a cause of action against Defendants for conversion.

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         179.      Defendants improper taking and retention of the Plum Circle Investment Funds

which belong to Plaintiffs gives rise to a claim for conversion. Defendants, without authorization,

asserted dominion and control over the Plum Circle Investment Funds.

         180.      The Plum Circle Investment Funds are specifically identifiable property of

Plaintiffs and are or were the property of Plaintiffs and which were owned or payable to Plaintiffs.

         181.      Defendants’ conversion is inconsistent with Plaintiffs’ rights and ownership of the

Plum Circle Investment Funds.

         182.      Walsh solicited and advised Plaintiffs to invest in the Plum Circle Investment. Upon

trust and advice and based upon Walsh’s solicitation and misrepresentations, Plaintiffs invested

$265,000.00 (the Plum Circle Investment Funds) into the PCC Trust for purposes of providing a

down payment towards acquiring the Chipley Property. In return, Walsh promised income

generation, profits, and refinancing that would result in a repayment of the initial investment after

the properties were rehabilitated and exercising maximum use.

         183.      Instead of using the Plum Circle Investment Funds as solicited, promised, advised,

and agreed upon, Walsh converted the Plum Circle Investment Funds for his own benefit and use

or that of his affiliated entities.

         184.      The Plum Circle Investment Funds were wrongfully and illegitimately used for the

benefit of Defendants.

         185.      Plaintiffs made a demand for the return of the Plum Circle Investment Funds, but

the funds have not been returned. Defendants have been confronted with the fact that they stole

and converted Plaintiffs’ property, but Defendants have failed to return any of the property to

Plaintiffs and have ignored Plaintiffs’ demands.




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          186.     As a direct and proximate result of Defendants’ conversion of the Plum Circle

Investment Funds, Plaintiffs have been damaged.

                                     COUNT XIII – CIVIL THEFT
                                (as to the Gainesville Road Investment)

          187.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          188.     This is a cause of action against Walsh for civil theft pursuant to Fla. Stat. § 772.11.

          189.     Walsh unlawfully and knowingly obtained the Gainesville Road Investment Funds

from Plaintiffs with the intent to temporarily or permanently deprive Plaintiffs of the right to that

money and the benefit from that money and to appropriate that money to his own use, through the

fraudulent means described herein.

          190.     The acts of Walsh constitute violations of Fla. Stat. § 812.014, in that Walsh has

stolen the principal sum of $300,000.00 from Plaintiffs through the fraudulent means described

herein.

          191.     Before filing this claim for civil theft, on June 12, 2020, Plaintiffs—through the

Demand Letter—made written demand, by e-mail, U.S. First Class Mail, and Certified Mail Return

Receipt Requested, on Walsh pursuant to Fla. Stat. § 772.11.

          192.     To date, despite demand by Plaintiffs and Walsh’s receipt of the Demand Letter,

Walsh has failed to return the Gainesville Road Investment Funds to Plaintiffs and has never

accounted to Plaintiffs for such funds. In fact, as of the filing of this Complaint, Walsh has never

even responded to the Demand Letter. More than 30 days has passed since Walsh received the

Demand Letter.

          193.     As a direct and proximate cause of Walsh’s unlawful actions, Plaintiffs were and

continue to be deprived of their right to their property and the benefit therefrom.

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          194.     Plaintiffs have suffered damages in the minimum amount of $300,000.00, and,

pursuant to Fla. Stat. § 772.11, Plaintiffs are entitled to treble damages in the minimum amount of

$900,000.00.

                                     COUNT XIV – CIVIL THEFT
                                   (as to the Plum Circle Investment)

          195.     Plaintiffs incorporate and reallege Paragraphs 1 through 60 as if fully restated

herein.

          196.     This is a cause of action against Walsh for civil theft pursuant to Fla. Stat. § 772.11.

          197.     Walsh unlawfully and knowingly obtained the Plum Circle Investment Funds from

Plaintiffs with the intent to temporarily or permanently deprive Plaintiffs of the right to that money

and the benefit from that money and to appropriate that money to his own use, through the

fraudulent means described herein.

          198.     The acts of Walsh constitute violations of Fla. Stat. § 812.014, in that Walsh has

stolen the principal sum of $265,000.00 from Plaintiffs through the fraudulent means described

herein.

          199.     Before filing this claim for civil theft, on June 12, 2020, Plaintiffs—through the

Demand Letter—made written demand, by e-mail, U.S. First Class Mail, and Certified Mail Return

Receipt Requested, on Walsh pursuant to Fla. Stat. § 772.11.

          200.     To date, despite demand by Plaintiffs and Walsh’s receipt of the Demand Letter,

Walsh has failed to return the Plum Circle Investment Funds to Plaintiffs and has never accounted

to Plaintiffs for such funds. In fact, as of the filing of this Complaint, Walsh has never even

responded to the Demand Letter. More than 30 days has passed since Walsh received the Demand

Letter.




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         201.      As a direct and proximate cause of Walsh’s unlawful actions, Plaintiffs were and

continue to be deprived of their right to their property and the benefit therefrom.

         202.      Plaintiffs have suffered damages in the minimum amount of $265,000.00, and,

pursuant to Fla. Stat. § 772.11, Plaintiffs are entitled to treble damages in the minimum amount of

$795,000.00.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs demand judgment against Defendants, jointly and severally, as

follows:

              a) compensatory damages in an amount to be determined at trial;

              b) treble damages pursuant to Fla. Stat. § 772.11;

              c) interest pursuant to Fla. Stat. § 517.211(3);

              d) a full and complete accounting of any funds traceable to Plaintiffs, including the

Gainesville Road Investment Funds and Plum Circle Investment Funds;

              e) rescission of Plaintiffs’ investments;

              f) punitive damages;

              g) pre- and post-judgment interest and any other interest available under any

applicable rule or statute;

              h) all costs of this action, including reasonable attorneys’ fees and costs; and

              i) such other and further relief as this Court shall deem just and proper.

                                           JURY DEMAND

         Plaintiffs hereby demand a trial by jury of all issues so triable.




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Dated: December 22, 2020           Respectfully submitted,

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